        Case 8:24-cr-00211-TDC          Document 29        Filed 07/31/24      Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      CASE NO.: 8:24-CR-211-TDC
                                                      )
HOAU-YAN WANG,                                        )
                                                      )
       Defendant.                                     )

               DEFENDANT HOAU-YAN WANG’S UNOPPOSED MOTION
                FOR EXTENSION OF PRE-TRIAL MOTIONS DEADLINE

       Defendant Hoau-Yan Wang (“Dr. Wang”), by and through his undersigned counsel and

pursuant to Fed. R. Crim. P. 45(b)(1)(A), moves the Court for an extension of time to file pre-trial

motions, and in support respectfully alleges that:

            (1) Dr. Wang was arraigned on July 10, 2024. (Doc. 15).

            (2) At the arraignment, the deadline for filing pre-trial motions, other than motions in

limine, was set as August 7, 2024. (Doc. 20).

            (3) Counsel for Dr. Wang received discovery materials from the Government on July

30, 2024.

            (4) The discovery materials provided by the Government are voluminous, consisting

of over 2 million Bates-labeled pages, a 1TB hard drive containing the images of two laptops, and

a 2TB hard drive containing the images of 13 thumb drives, an iPad, an iCloud account, a hard

drive, 4 computer discs, and various other materials

            (5) Given the volume of the discovery materials, it is unlikely they will be imaged by

a vendor and accessible to Dr. Wang’s counsel for at least several days to one week, which is at or

just before the current pre-trial motions deadline.
        Case 8:24-cr-00211-TDC          Document 29        Filed 07/31/24       Page 2 of 4



           (6) Additional time is required for Dr. Wang’s counsel to access and review the

discovery materials in order to determine whether to file and, if so, to adequately prepare potential

pre-trial motions, including motions to suppress and to dismiss the indictment.

           (7) Given the volume of discovery, an extension of twenty-one (21) days is requested,

extending the deadline to August 28, 2024.

           (8) This request is made in good faith and not for the purpose of delay.

           (9) The ends of justice served by the continuance requested by Dr. Wang outweigh the

best interests of the public and Dr. Wang in a speedy trial because Dr. Wang’s counsel needs

adequate time with the discovery materials before advising Dr. Wang regarding his pre-trial

motion strategy options. See 18 U.S.C. § 3161(7)(A).

           (10)        Counsel for Dr. Wang has conferred with counsel for the Government, who

consents to the requested extension.

       WHEREFORE, Defendant respectfully prays the Court issue an order extending the time

for filing of motions for twenty-one (21) days to August 28, 2024.

Dated: July 31, 2024                                  Respectfully submitted,

                                                            /s/ Jennifer L. Beidel____________
                                                      Jennifer L. Beidel (Pro Hac Vice)
                                                      Mark Chutkow (Pro Hac Vice)
                                                      Joanne Zimolzak (19342)
                                                      Timothy Caprez (Pro Hac Vice)
                                                      Emma Blackwood (Pro Hac Vice)
                                                      Counsel for Hoau-Yan Wang

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Case 8:24-cr-00211-TDC   Document 29   Filed 07/31/24   Page 3 of 4



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                               3
          Case 8:24-cr-00211-TDC          Document 29       Filed 07/31/24       Page 4 of 4



                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 31st day of July, 2024, I filed the foregoing Unopposed Motion

for Extension of Pre-Trial Motions Deadline with the Clerk of the Court for the U.S. District Court

for the District of Maryland, using the Court’s CM/ECF system. The CM/ECF system sent a

“Notice of Electronic Filing” to all counsel of record who have entered an appearance in this

matter.



Dated: July 31, 2024                                   Respectfully submitted,

                                                               /s/ Jennifer L Beidel____________
                                                       Jennifer L. Beidel (Pro Hac Vice)
                                                       Mark Chutkow (Pro Hac Vice)
                                                       Joanne Zimolzak (19342)
                                                       Timothy Caprez (Pro Hac Vice)
                                                       Emma Blackwood (Pro Hac Vice)
                                                       Counsel for Hoau-Yan Wang

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